             UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE
                        AT GREENEVILLE



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )           NO. 2:03-CR-74
                                             )
TASHA FLEMING                                )




                                       ORDER


              The defendant, Tasha Fleming, has filed a motion to amend, correct

or reduce her sentence. The defendant pled guilty to Count 2 of an indictment

which charged her with a conspiracy to distribute and to possess with the intent

to distribute cocaine base or crack.   On November 22, 2004, she was sentenced

to serve a total term of 60 months. She did not file a notice of appeal; therefore,

her sentence became final ten (10) days after her judgment was entered on

December 8, 2004.

              The defendant asks this Court to apply United States v. Booker, 534

U.S. 220 (2005), to her case and to resentence her. However, the Sixth Circuit has

concluded that Booker's rule does not apply retroactively to decisions which are




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already final. See Humphress v. United States, 398 F.3d 855, 860 (6th Cir.2005).

Accordingly, it is hereby ORDERED that defendant’s motion is DENIED. [Doc.

409].



            ENTER:

                                                  s/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




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